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                       IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON

STATE OF WASHINGTON, et al.,                 )       Case No. 2:25-cv-00848
                                             )
                       Plaintiffs,           )
                                             )
               vs.                           )
                                             )
U.S. DEPARTMENT OF                           )
TRANSPORTATION, et al.,                      )
                                             )
                       Defendants.           )

               CERTIFIED INDEX TO THE ADMINISTRATIVE RECORD

       The undersigned, Emily Biondi, Associate Administrator for Planning, Environment, and

Realty, Federal Highway Administration, an operating administration of the United States

Department of Transportation, certifies the following to be a list of all available nonprivileged

documents, exhibits, and other materials comprising the administrative record in the matter under

review in this case:

          DATE OF
                               DESCRIPTION OF DOCUMENT
          DOCUMENT
 1        February 10,         Memorandum re: “INFORMATION: The National Electric
          2022                 Vehicle Infrastructure (NEVI) Formula Program Guidance”
 2        No date              2022 template document titled: “State Plan for Electric Vehicle
                               Infrastructure Deployment – TEMPLATE –”
 3        June 2, 2023         Memorandum re: “INFORMATION: National Electric Vehicle
                               Infrastructure Formula Program Guidance (Update)”
 4        No date              2023 template document titled: “State Plan/State Plan Update
                               for Electric Vehicle (EV) Infrastructure Deployment
                               [TEMPLATE]”
 5        June 11, 2024        Memorandum re: “INFORMATION: National Electric Vehicle
                               Infrastructure Formula Program Guidance (Update)”
 6        No date              2024 template document titled: “State Plan/State Plan Update
                               for Electric Vehicle (EV) Infrastructure Deployment
                               [TEMPLATE]”
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 7        December 11,       Memorandum re: “INFORMATION: Build Out Certification -
          2024               NEVI Formula Program Guidance”
 8        February 6, 2025   Document titled: “NATIONAL ELECTRIC VEHICLE
                             INFRASTRUCTURE (NEVI) FORMULA PROGRAM
                             STATUS OF FUNDS AS OF FEBRUARY 6, 2025”
 9        February 6, 2025   Email from Emily Biondi to various recipients re: “ACTION:
                             Suspending Approval of State Electric Vehicle Infrastructure
                             Deployment Plans; Effective Immediately”
 10       February 6, 2025   Letter from Emily Biondi re: “Suspending Approval of State
                             Electric Vehicle Infrastructure Deployment Plans”




Date: July 3, 2025.

                                                  _____________________________
                                                  Emily Biondi
                                                  Associate Administrator for Planning,
                                                  Environment, and Realty
                                                  Federal Highway Administration
                                                  United States Department of Transportation




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